Case 2:Ol-cV-03041-STA-egb Document 241 Filed 08/02/05 Page 1 of 5 Page|D 310

FiLED B'T' ___`_ ' D.C.

UNITED STATES DISTRlCT COURT
WESTERN DISTRICT OF TENNESSEE 05 AUG -2 PH 2= 39

 

 

WESTERN DIVISION
MEMPHIS-SHELBY COUNTY
ATRPORT AUTHORlTY, Plaintiff, COunter-Defendant,
vS. Civil Acrion NO. 01-3041-BA /
JURY DEMANDED

ILL]NOIS VALLEY PAVING COMPANY,

Defendant/Counter-PIaintit`f,

 

ILLINOIS VALLEY PAVING COMPANY,
vs.

JACO AIRFIELD CONSTRUCTION, INC.,

Third-Party Plaintiff,

Third-Party Defendant.

 

JACO AlRFlELD CONSTRUCTION, INC.,
VS.

NEHRING ELECTRlCAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, INC.,

Fourth~Party Plaintiff,

FOurth-Party Defendants.

 

NEHRING ELECTRICAL WORKS COl\/IPANY,
GRAYBAR ELECTRIC COMPANY, INC.,

VS.

AMERACE, a Division of Thomas & Betts Corporation,

Fifth-Party Plaintiffs,

Fifth-Party Defendants.

 

ILLINOIS VALLEY PAV]NG COMPANY,
vs.

NEHRING ELECTRICAL WORKS COMPANY,
GRAYBAR ELECTRIC COMPANY, INC.,

Cro SS-Claimant,

Cross-Defendants.

 

Page 1 Of 3

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Case 2:01-cV-03041-STA-egb Document 241 Filed 08/02/05 Page 2 of 5 Page|D 311

FlREMAN’S FUND .INSURANCE COMPANY, Defendant/CrosS-Claimant,
vs.
JACO AIRFIELD CONSTRUCTlON, INC.,

NEHRING ELECTRICAL WORKS COMPANY,
AND GRAYBAR ELECTRIC COMPANY, INC., CrosSFDefendants.

 

ORDER GRANTING NEHRING ELECTRICAL WORKS COMPANY’S,
GRAYBAR ELECTRIC COMPANY, l`NC.’S AND AMERACE, A
DIVISION OF THOMAS & BETTS CORPORATION’S JOINT MOTION
TO DISMISS THE FIFTH-PARTY COMPLAINTS AND ACTIONS
AGAINST AMERACE, A DIVISION OF THOMAS & BET'I`S CORPORATION

 

Carne on to be heard the Joint Motion of Nehring Electrical Works Company, Graybar
Eloctric Cornpany, Inc. and AMERACE, a Division of Thomas & Betts Coiporation, to dismiss
the Fitth-Party Complaints and actions against AMERACE, a Division of Thomas & Betts
Corporation, Without prejudice The Joint Motion is well taken and should be granted

WHEREFORE PREMISES CONSIDERED, this Court does Order, Adjudge and Decree
that the Fifth-Party Complaints and actions filed by Nehring Electric Works Company and

Grayhar Electric Company, ]nc. against AM ERACE are\ by dismissed without prejudice.

   

 

PREPARED BY:

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Case 2:01-cV-O3O41-STA-egb Document 241 Filed 08/02/05 Page 3 of 5 Page|D 312

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CERTIFICATE OF SERVICE

1 hereby certify that a copy of the foregoing has been properly served, via U.S. Mail

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Notice of Distribution

This notice confirms a copy of the document docketed as number 241 in
case 2:01-CV-03041 Was distributed by faX, mail, or direct printing on
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